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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

COMMON CAUSE; LEAGUE OF
WOMEN VOTERS OF GEORGIA;
DR. URSULA THOMAS; JASMINE
BOWLES; DR. H. BENJAMIN
WILLIAMS,                                     CIVIL ACTION FILE NO.

       Plaintiffs,                            1:22-CV-00090-SCJ-SDG-ELB

v.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of Georgia; JOHN KENNEDY, in his
official capacity as Chair of the
Georgia Senate Committee on
Reapportionment and Redistricting;
BONNIE RICH, in her official
capacity as Chair of the Georgia
House Committee on Legislative and
Congressional Reapportionment,

       Defendant.


                 NOTICE OF APPEARANCE OF COUNSEL

        COMES NOW Frank B. Strickland, of the law firm Taylor English

 Duma LLP, 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339, and

 hereby enters his appearance as counsel for Defendant Brad Raffensperger,

 in his official capacity as Secretary of State of Georgia. Copies of all further

 pleadings, orders, and notices should be sent to him at the address below.
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  This 20th day of January, 2022.


                               /s/ Frank B. Strickland
                               Frank B. Strickland
                               Georgia Bar No. 678600
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                               1600 Parkwood Circle, Suite 200
                               Atlanta, Georgia 30339
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                               Attorney for Defendant




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned certifies that the foregoing

Notice of Appearance of Counsel has been prepared in Century Schoolbook

13, a font and type selection approved by the Court in L.R. 5.1(B).

                                    /s/ Frank B. Strickland
                                    Frank B. Strickland
